              Case 23-70668-AKM-11                      Doc 1       Filed 09/08/23            EOD 09/08/23 14:15:14                 Pg 1 of 77


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Elmer Buchta Trucking, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  330 Cross Point Blvd.
                                  Evansville, IN 47715
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Vanderburgh                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-70668-AKM-11                          Doc 1     Filed 09/08/23              EOD 09/08/23 14:15:14                       Pg 2 of 77
Debtor    Elmer Buchta Trucking, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
              Case 23-70668-AKM-11                              Doc 1      Filed 09/08/23             EOD 09/08/23 14:15:14                    Pg 3 of 77
Debtor    Elmer Buchta Trucking, LLC                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 23-70668-AKM-11            Doc 1       Filed 09/08/23         EOD 09/08/23 14:15:14              Pg 4 of 77
Debtor   Elmer Buchta Trucking, LLC                                                 Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case 23-70668-AKM-11                     Doc 1         Filed 09/08/23            EOD 09/08/23 14:15:14                   Pg 5 of 77
Debtor    Elmer Buchta Trucking, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 8, 2023
                                                  MM / DD / YYYY


                             X /s/ Louis Capolino                                                         Louis Capolino
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President/Manager




18. Signature of attorney    X /s/ Weston E. Overturf                                                      Date September 8, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Weston E. Overturf
                                 Printed name

                                 Kroger, Gardis & Regas, LLP
                                 Firm name

                                 111 Monument Circle
                                 Suite 900
                                 Indianapolis, IN 46204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     317-777-7443                  Email address


                                 27281-49 IN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Elmer Buchta Trucking, LLC                                                        Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                      amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Buchta Leasing, LLC                                                     Relationship to you
District                                              When     9/08/23             Case number, if known
Debtor     ElenaRose Capital LLC                                                   Relationship to you
District                                              When     9/08/23             Case number, if known
Debtor     Transport Acquisitions LLC                                              Relationship to you
District                                              When     9/08/23             Case number, if known
Debtor     WBF, LLC                                                                Relationship to you
District                                              When     9/08/23             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 6
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                                                                                FILE #:         202212193012288
                                                                                DATE FILED: 19 Dec 2022 06:37 PM




UCC FINANCING STATEMENT

DEBTOR INFORMATION
ORGANIZATION’S NAME:          Elmer Buchta Trucking LLC
MAILING ADDRESS:              2174 N. State Rd. 257 South
CITY:                         Otwell                         POSTAL CODE:                  47564
STATE:                        IN                             COUNTRY:                      USA


SECURED PARTY INFORMATION
ORGANIZATION’S NAME:          KTB Equity, Inc.
MAILING ADDRESS:              420 SE Riverside Drive
CITY:                         Evansville                     POSTAL CODE:                  47713
STATE:                        IN                             COUNTRY:                      USA


COLLATERAL INFORMATION
THIS FINANCING STATEMENT COVERS THE FOLLOWING COLLATERAL:
The "Collateral" for purposes of this financing statement, including the following described personal property Debtor
now owned or hereafter acquired, (i) all goods, including without limitation, all inventory, supplies, furniture, fixtures,
appliances, and equipment; (ii) any and all additions, parts, attachments, accessions, accessories thereto, and
equipment now or hereafter The "Collateral" for purposes of this financing statement, including the following
described personal property Debtor now owned or hereafter acquired, (i) all goods, including without limitation, all
inventory, supplies, furniture, fixtures, and equipment; (ii) any and all additions, parts, attachments, accessions,
accessories thereto, and equipment now or hereafter attached or used in connection therewith, together with all
proceeds of the foregoing, including without limitation, all checks, cash, drafts, insurance proceeds, accounts
receivables, chattel paper, leases and instruments received by Debtor in connection with any sale, lease, exchange, or
disposition of any cash, drafts, insurance proceeds, accounts receivables, chattel paper, leases and instruments
received by Debtor in connection with any sale, lease, exchange, or disposition of any of the foregoing.




                                                                                                         - Page 1 of 2 -
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                                                                FILE #:     202212193012288
                                                                DATE FILED: 19 Dec 2022 06:37 PM




COLLATERAL IS:
  HELD IN TRUST
  BEING ADMINISTERED BY DECEDENT’S REPRESENTATIVE


FILING TYPE

  PUBLIC FINANCE TRANSACTION
  A DEBTOR IS A TRANSMITTING UTILITY
  MANUFACTURED-HOME TRANSACTION
  AGRICULTURAL LIEN
  NON-UCC FILING


ALTERNATIVE DESIGNATION (IF APPLICABLE)
  LESSEE/LESSOR
  CONSIGNEE/CONSIGNOR
  SELLER/BUYER
  BAILEE/BAILOR
  LICENSEE/LICENSOR


OPTIONAL FILER REFERENCE DATA
90481236


MISCELLANEOUS




                                                                                   - Page 2 of 2 -
         Case 23-70668-AKM-11                      Doc 1         Filed 09/08/23            EOD 09/08/23 14:15:14                Pg 9 of 77




Fill in this information to identify the case:

Debtor name         Elmer Buchta Trucking, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 8, 2023               X /s/ Louis Capolino
                                                           Signature of individual signing on behalf of debtor

                                                            Louis Capolino
                                                            Printed name

                                                            President/Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Elmer Buchta Trucking, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA                                                                        Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Bally's Evansville                                  Trade debt                                                                                                  $15,152.00
 334 North Senate
 Ave.
 Indianapolis, IN
 46204
 Best One Tire and                                   Trade debt                                                                                                $100,886.51
 Service Vincennes
 116 W Jackson
 Monroe, IN 46772
 Buchta Leasing LLC                                  Trade debt                                                                                                $684,333.31
 1980 S 100 W
 Princeton, IN 47670
 Douglas Prohaski                                    Notice Only - Will                                                                                          $11,538.46
 19826 Fairlawn Ave.                                 Be Paid, for the
 Prior Lake, MN                                      Pay Period Prior
 55372                                               to Filing,
                                                     According to the
                                                     Wage Motion
 First Insurance                                     Trade debt                                                                                                $207,562.84
 Funding Corp.
 450 Skokie Blvd.
 Suite 1000
 Northbrook, IL
 60062
 Great American                                      Trade debt                                                                                                  $13,505.13
 Insurance
 36 S Pennsylvania
 St.
 Suite 700
 Indianapolis, IN
 46204
 Heritage Petroleum                                  Trade debt                                                                                                $128,043.53
 LLC
 221 NW Fifth St
 Evansville, IN 47708
 Hoosier Bandag                                      Trade debt                                                                                                  $24,585.68
 116 W Jackson St.
 Monroe, IN 46772

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Elmer Buchta Trucking, LLC                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Internal Revenue                                    Payroll taxes                                                                                               $35,977.08
 Service
 575 N. Pennsylvania
 Street
 Stop SB380
 Indianapolis, IN
 46204
 Jesse Klem                                          Notice Only - Will                                                                                            $2,322.69
 4186 W Beringer Dr.                                 Be Paid, for the
 Jasper, IN 47546                                    Pay Period Prior
                                                     to Filing,
                                                     According to the
                                                     Wage Motion
 Matrix Integration                                  Trade debt                                                                                                  $97,677.89
 9093 Technology Dr.
 Suite 102
 Fishers, IN 46038
 Minnesota                                           Employment taxes                                                                                              $2,318.00
 Department of
 Revenue
 600 N. Robert St.
 Saint Paul, MN
 55146
 National Interstate                                 Trade debt                                                                                                $750,956.00
 Insurance
 3250 Interstate Dr.
 Richfield, OH 44286
 Rogers Group Inc.                                   Trade debt                                                                                                    $4,925.40
 334 North Senate
 Ave.
 Indianapolis, IN
 46204
 Synenergy Partners                                  Trade debt                                                                                                  $21,757.94
 817 West 4th St
 Mount Vernon, IN
 47620
 Terminal Properties                                 Trade debt                                                                                                  $11,400.00
 LLC
 420 S.E. Riverside
 Evansville, IN 47713
 Thomas Bennett                                      Notice Only - Will                                                                                          $15,799.23
 1000 Oak Trace                                      Be Paid, for the
 Evansville, IN 47725                                Pay Period Prior
                                                     to Filing,
                                                     According to the
                                                     Wage Motion
 UniFirst Corporation                                Trade debt                                                                                                    $2,510.90
 135 North
 Pennsylvania St.
 Suite 1610
 Indianapolis, IN
 46204

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Elmer Buchta Trucking, LLC                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 WBF LLC                                             Trade debt                                                                                                  $24,935.90
 420 SE Riverside
 Evansville, IN 47713
 Yokohama Tire                                       Trade debt                                                                                                  $19,791.67
 Corporation
 334 North Senate
 Ave.
 Indianapolis, IN
 46204




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Fill in this information to identify the case:

 Debtor name            Elmer Buchta Trucking, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        5,556,104.97

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        5,556,104.97


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       24,028,158.88


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           159,999.58

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,114,556.90


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         26,302,715.36




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Elmer Buchta Trucking, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Banterra Bank                                                                                                               $1,553,425.87



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                 $1,553,425.87
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                  3,528,645.55     -                                     0.00 = ....                        $3,528,645.55
                                       face amount                          doubtful or uncollectible accounts



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
          Case 23-70668-AKM-11                    Doc 1         Filed 09/08/23           EOD 09/08/23 14:15:14           Pg 15 of 77

Debtor       Elmer Buchta Trucking, LLC                                                   Case number (If known)
             Name



12.       Total of Part 3.                                                                                                  $3,528,645.55
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last           Net book value of        Valuation method used   Current value of
                                             physical inventory         debtor's interest        for current value       debtor's interest
                                                                        (Where available)

19.       Raw materials
          Fuel                                                                     $200,000.00                                    $200,000.00



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                    $200,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                            Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                     page 2
          Case 23-70668-AKM-11                     Doc 1        Filed 09/08/23            EOD 09/08/23 14:15:14             Pg 16 of 77

Debtor       Elmer Buchta Trucking, LLC                                                     Case number (If known)
             Name

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Computers, phones, laptops, printers,
          software                                                                        $0.00                                       $30,000.00


          Desk, chairs, office furniture and equipment                                    $0.00                                        $1,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $31,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    SEE EQUIPMENT LIST ATTACHED                                     $20,000.00                                         $22,474.50


          47.2.    SEE VEHICLE LIST ATTACHED                                      $200,000.00                                        $220,559.05



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                       $243,033.55
          Add lines 47 through 50. Copy the total to line 87.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
           Case 23-70668-AKM-11                   Doc 1        Filed 09/08/23            EOD 09/08/23 14:15:14      Pg 17 of 77

Debtor        Elmer Buchta Trucking, LLC                                                   Case number (If known)
              Name

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                              page 4
           Case 23-70668-AKM-11                                 Doc 1           Filed 09/08/23                    EOD 09/08/23 14:15:14                  Pg 18 of 77

Debtor          Elmer Buchta Trucking, LLC                                                                          Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                        $1,553,425.87

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,528,645.55

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $200,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $31,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $243,033.55

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $5,556,104.97            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,556,104.97




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
                      Case 23-70668-AKM-11           Doc 1       Filed 09/08/23        EOD 09/08/23 14:15:14   Pg 19 of 77


                                                         Elmer Buchta Trucking, LLC
                                                            Buchta Leasing, Inc
                                                         Monthly Inventory Totals

             Monthly Inventory:          September‐23

                                                                                                           Tire                             Fuel
             Dept                                                                                        Allocati                          Invent
Location     Code           Parts        DEF           Oil        Total        Tires       Grand Total     ons         Double Check          ory

    Otwell   1 or 5       $138,692.64    $1,065.15 $11,821.47 $151,579.26     $14,549.25 $166,128.51                    $166,128.51
    Lease      2
    Linton     9           $37,465.85    $1,894.77   $6,937.10   $46,297.72   $16,352.05    $62,649.77                   $62,649.77


    Lamar     10           $23,323.26    $1,287.02   $4,810.31   $29,420.59   $10,317.07    $39,737.66                   $39,737.66    N
                                                                                                                                       S
Cannelburg    11           $31,954.05    $1,840.73 $11,634.65    $45,429.43    $8,567.48    $53,996.91                   $53,996.91
Petersburg    12           $54,447.77    $3,916.85 $8,530.06     $66,894.68   $16,499.25    $83,393.93                   $83,393.93
  Chandler    14           $51,255.43    $1,842.95 $11,564.07    $64,662.45   $19,322.25    $83,984.70                   $83,984.70
  Belmont     16                           $498.15    $755.04     $1,253.19                 $1,253.19                     $1,253.19
 Princeton    18                                                      $0.00                   $0.00                           $0.00


    TOTAL:                $337,139.00   $12,345.62 $56,052.70 $405,537.32     $85,607.35 $491,144.67       $0.00         $491,144.67        0.00
                                                                                                                                           Gallons
                           Case 23-70668-AKM-11         Doc 1       Filed 09/08/23        EOD 09/08/23 14:15:14      Pg 20 of 77


                                   Elmer Buchta Trucking, LLC
                                      A/R Aging Summary
                                              As of June 30, 2023

                                    Current        1 - 30       31 - 60      61 - 90     91 and over    Total
Aces Disposal Services Inc (A/R)      44,998.43                                                          44,998.43
AGX                                     900.00                                                             900.00
Ally Logistics                                        700.00                                               700.00
AM Transport                           1,300.00                                                           1,300.00
AMCOR                                  9,200.00                                                           9,200.00
Amino                                  1,000.00                                                           1,000.00
AOK Freight                             600.00                                                             600.00
Arrive                                23,700.00     11,950.00    1,250.00                                36,900.00
ATN                                    1,350.00                                                           1,350.00
ATS                                     535.00                                                             535.00
Axle Logistics                         2,050.00                                                           2,050.00
Bay and Bay                                           543.00                                               543.00
Becker Logistics                        750.00        800.00                                              1,550.00
Blue Line Logistics                   20,100.00      7,000.00                                            27,100.00
BNSF Logistics                          750.00                                                             750.00
BOYD & SONS INC.                       3,481.61                                                           3,481.61
Bridge Logistics, Inc                  1,600.00       800.00                                              2,400.00
Buchta Leasing                                                                  105.98                     105.98
Buzzi Unicem USA                                                                             2,623.06     2,623.06
Center Point Energy                  247,608.52                                                         247,608.52
Centerpoint Energy // Vectren        383,478.90       142.50                                            383,621.40
CH Robinson                             900.00      10,450.00       525.00                               11,875.00
Circle Logistics, Inc                  1,800.00      1,615.00                                             3,415.00
Coyote                                 6,125.00      4,700.00    1,100.00                                11,925.00
CPPT                                   4,700.00      1,300.00                                             6,000.00
Crystal Excavating, LLC               13,058.04                                                          13,058.04
Direct Connect Logistics                700.00                                                             700.00
DUKE ENERGY INDIANA, INC.                                                                   -3,639.48    -3,639.48
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Duke Energy of Indiana                                                                  299.03       299.03
E & B Paving, Inc.                                                                      967.29       967.29
Echo Global                                           500.00                                         500.00
Encom Polymers                           8,600.00     700.00                                        9,300.00
Evansville Country Club                 15,000.00                                                  15,000.00
Fitzmark Indianapolis                    1,600.00    1,400.00                                       3,000.00
Four G Polymers                          2,600.00                                                   2,600.00
GAF Materials, LLC                                                         814.78       -884.78       -70.00
Gibson County Coal, LLC                 26,954.97                                                  26,954.97
Gibson County Logistics                                                                4,494.70     4,494.70
Grassmasters Sod Farm                                                                   900.00       900.00
Greatwide                                                       1,900.00                            1,900.00
Green Opportunities, Inc.                            1,843.83                         39,893.31    41,737.14
Hallador Power, LLC                     80,265.31   59,557.00                                     139,822.31
Harding & Shymanski                                                                        0.00         0.00
Hometown LX                              1,750.00                                                   1,750.00
Hoosier Ready-Mix                        2,887.76                                                   2,887.76
INDIANAPOLIS POWER & LIGHT             243,974.23                                          0.80   243,975.03
INDIANAPOLIS POWER (AES)               125,710.92                                                 125,710.92
Integrity Express Logistics                          1,300.00                                       1,300.00
INTERNATIONAL PAPER                     19,420.97   13,253.87                                      32,674.84
Irving Material Terre Haute                                                            9,122.37     9,122.37
IRVING MATERIALS IMI                                                                   3,880.70     3,880.70
JONES & SONS, INC.                      23,722.35                            -0.01                 23,722.34
KBX Logistics                            2,600.00                                                   2,600.00
Keraz                                                 600.00                                         600.00
Legend Directional Services                                                            1,084.50     1,084.50
LeHigh Cement (Do Not Mail)                                                           58,251.19    58,251.19
LeHigh Cement Company LLC                4,166.45     -378.63              -296.31    42,136.90    45,628.41
Luhu Logistics                            550.00                                                     550.00
Mode Trans                              13,075.00                                                  13,075.00
MultiSeal                                3,400.00                                                   3,400.00
National Freight Logistics               1,500.00                                                   1,500.00
                         Case 23-70668-AKM-11       Doc 1     Filed 09/08/23        EOD 09/08/23 14:15:14     Pg 22 of 77


Nolan Transport                      350.00      1,400.00                                          1,750.00
Oaktown Fuels                                                                          -719.74      -719.74
Peabody (Wildboar)                161,003.45                                           366.07    161,369.52
Peabody Coal                                                                          7,725.81     7,725.81
Penske Logistics                   58,402.22    92,146.38    1,138.12                            151,686.72
PERSIMMON RIDGE GREENWERX           1,333.02                                                       1,333.02
PFL Logistics                                     650.00                                            650.00
Pike Co Highway                                                                        597.34       597.34
Redwood                              550.00                                                         550.00
Responsible Energy                632,695.45   135,194.32                                        767,889.77
Roar Logistic                        525.00                                                         525.00
ROGERS GROUP, INC.                 10,555.47      -167.56    1,971.82    2,442.42     4,360.87    19,163.02
RXO                                 1,966.00      885.00                                           2,851.00
Ryan Transportation                 1,100.00                                                       1,100.00
Samsung                            47,946.17                                                      47,946.17
Schneider                           2,720.00      575.00                                           3,295.00
Silgan White Cap                    7,647.78     1,319.50                                          8,967.28
Sission Steel, Inc.                                                                    575.00       575.00
Smyrna Ready Mix                                                                      1,316.95     1,316.95
Southern Polymer                    2,666.60                                                       2,666.60
Specialties Company                                                                    656.74       656.74
Spectrum Logistics - Box Van                    71,608.84               35,505.84                107,114.68
Spectrum Logistics Inc   AR        84,343.06     3,343.06                                         87,686.12
Spot Freight                        1,700.00                                                       1,700.00
SUNRISE COAL                                                19,171.98                             19,171.98
Sunrise Coal (Rock Purchase)                                15,600.00                    -0.02    15,599.98
Sunset Transportation               1,800.00                                                       1,800.00
TA Services                          500.00                                                         500.00
TLD                                               600.00                                            600.00
TQL                                12,750.00     3,900.00                                         16,650.00
Trihope Inc                         2,400.00                                                       2,400.00
Trivalence                          8,400.00     4,900.00                                         13,300.00
U S GYPSUM COMPANY                240,039.36    46,125.33                              -469.41   285,695.28
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UACL Logistics                         400.00                                                            400.00
USG (Cass)                                                                             56,652.97      56,652.97
Vectren DBA Sigeco                                                                          0.00           0.00
VoMac                                5,311.95                                              -0.01       5,311.94
Wabash                               1,200.00                                                          1,200.00
WBF, LLC (A/R)                      23,795.76                 13,817.70   14,878.23    37,320.47      89,812.16
White River Land Corp                             2,197.03                                             2,197.03
Woody Bogler Logistics LLC                                                  -834.45        23.60        -810.85
Worldwide Express                    2,350.00                                                          2,350.00
Worldwide Logistics                  3,600.00                                                          3,600.00
WW Seeds                               800.00                                                            800.00
Year End Adjustment                                                                         0.00           0.00
Yellow                               1,250.00                                                          1,250.00
TOTAL                           $ 2,668,564.75 $ 483,453.47 $ 56,474.62 $ 52,616.48 $ 267,536.23 $ 3,528,645.55


                               As of July 18th, the total AR is 2.429m with 1.378m being current and 785K being 1‐30
          Case 23-70668-AKM-11                          Doc 1          Filed 09/08/23              EOD 09/08/23 14:15:14                   Pg 24 of 77

Fill in this information to identify the case:

Debtor name         Elmer Buchta Trucking, LLC

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   KTB Equity inc.                              Describe debtor's property that is subject to a lien                     Unknown           $22,000,000.00
      Creditor's Name                              SEE UCC ATTACHED
      420 SE Riverside Dr.
      Evansville, IN 47713
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2022                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9591
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative
                                                      Disputed
      priority.



2.2   Peapack Captial                              Describe debtor's property that is subject to a lien             $24,028,158.88            $22,000,000.00
      Creditor's Name                              All Equipment
      278 Green Village Rd.
      Morristown, NJ 07960
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2023                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9591
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
          Case 23-70668-AKM-11                       Doc 1         Filed 09/08/23             EOD 09/08/23 14:15:14                       Pg 25 of 77

Debtor      Elmer Buchta Trucking, LLC                                                         Case number (if known)
            Name

          No                                      Contingent
          Yes. Specify each creditor,             Unliquidated
      including this creditor and its relative    Disputed
      priority.



                                                                                                                        $24,028,158.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   88

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
          Case 23-70668-AKM-11                           Doc 1        Filed 09/08/23                  EOD 09/08/23 14:15:14                    Pg 26 of 77

Fill in this information to identify the case:

Debtor name        Elmer Buchta Trucking, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,250.00         $0.00
          Andrew Turpin                                       Check all that apply.
          7005B Heim Rd.                                         Contingent
          Chandler, IN 47610                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Only - Will Be Paid, for the Pay Period
                                                              Prior to Filing, According to the Wage Motion
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $855.47         $0.00
          Anthony Wester                                      Check all that apply.
          819 S 5th St.                                          Contingent
          Boonville, IN 47601                                    Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Only - Will Be Paid, for the Pay Period
                                                              Prior to Filing, According to the Wage Motion
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 30
                                                                                                              30999
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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,442.31   $0.00
         Aphrodite Reifsnyder                               Check all that apply.
         1319 E Franklin St.                                    Contingent
         Evansville, IN 47711                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,250.00   $0.00
         Austin Bryant                                      Check all that apply.
         9383 E. Buffalo Trail                                  Contingent
         Odon, IN 47562                                         Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $988.57    $0.00
         Austin Roberts                                     Check all that apply.
         4170 S. Highway 65                                     Contingent
         Owensville, IN 47665                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,055.00   $0.00
         Billy Barre                                        Check all that apply.
         434 W Sylvandell St.                                   Contingent
         Sullivan, IN 47882                                     Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $919.67    $0.00
         Brandon McCutchen                                  Check all that apply.
         6942 S St. Rd. 61                                      Contingent
         Monroe City, IN 47557                                  Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $783.45    $0.00
         Brenda Rickard                                     Check all that apply.
         1371 N St Rd 61                                        Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,250.00   $0.00
         Brian Bilskie                                      Check all that apply.
         1408 E Sycamore St.                                    Contingent
         Vincennes, IN 47591                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,352.88   $0.00
         Chandra Schaeffer                                  Check all that apply.
         11435 Caracaras Ct.                                    Contingent
         Evansville, IN 47725                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,272.84   $0.00
         Charles Alvey                                      Check all that apply.
         400 Marlene Dr.                                        Contingent
         Evansville, IN 47712                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $826.65    $0.00
         Charles Hale                                       Check all that apply.
         413 South Chestnut St.                                 Contingent
         Huntingburg, IN 47542                                  Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,250.00   $0.00
         Chris Hamilton                                     Check all that apply.
         16209 DH Gate Rd                                       Contingent
         Loogootee, IN 47553                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $733.60    $0.00
         Christian Conner                                   Check all that apply.
         910 N. Williams St.                                    Contingent
         Boonville, IN 47601                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,100.00   $0.00
         Christopher Mitchell                               Check all that apply.
         1108 Herrman St.                                       Contingent
         Tell City, IN 47586                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,826.92   $0.00
         Corey Hicks                                        Check all that apply.
         691 S Concord Dr.                                      Contingent
         Princeton, IN 47670                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,520.62   $0.00
         Curtis Phillips                                    Check all that apply.
         3535 Trailstone Dr.                                    Contingent
         Evansville, IN 47725                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,050.00   $0.00
         Daniel Carter                                      Check all that apply.
         1681 E State Road 356                                  Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $901.77   $0.00
         Daniel Scott                                       Check all that apply.
         10900 E Base Rd.                                       Contingent
         Oakland City, IN 47660                                 Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown    $0.00
         David Harner                                       Check all that apply.
         405 E. 5th St.                                         Contingent
         Mount Vernon, IN 47620                                 Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown    $0.00
         Dayton Guinn                                       Check all that apply.
         1305 E. Van Trees St.                                  Contingent
         Washington, IN 47501                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $770.00   $0.00
         Deborah Craig                                      Check all that apply.
         PO Box 53                                              Contingent
         Otwell, IN 47564                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $660.49   $0.00
         Denzil Tisdale                                     Check all that apply.
         1005 Spruce St.                                        Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $780.00   $0.00
         Derek Riker                                        Check all that apply.
         1805 McCromick Ave.                                    Contingent
         Washington, IN 47501                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown    $0.00
         Donald Edwards                                     Check all that apply.
         109 WEst Van Trees St.                                 Contingent
         Washington, IN 47501                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $950.00   $0.00
         Donald Gogel                                       Check all that apply.
         6648 S State Rd 162                                    Contingent
         Huntingburg, IN 47542                                  Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,538.46   $0.00
         Douglas Prohaski                                   Check all that apply.
         19826 Fairlawn Ave.                                    Contingent
         Prior Lake, MN 55372                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,496.00   $0.00
         Dustin Belcher                                     Check all that apply.
         9433 E Cty Rd 500 N                                    Contingent
         Otwell, IN 47564                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,071.84   $0.00
         Eric Cannon                                        Check all that apply.
         3024 E Co Rd 650 N                                     Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,185.00   $0.00
         Gary Foisy                                         Check all that apply.
         5772 E 900 N                                           Contingent
         Dubois, IN 47527                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $194.40    $0.00
         Greene County Treasurer                            Check all that apply.
         1 Main St.                                             Contingent
         Bloomfield, IN 47424                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9591               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,000.00   $0.00
         Heath Scraper                                      Check all that apply.
         211 S 16th St.                                         Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Indiana Department of Revenue                      Check all that apply.
         402 West Washington Street, 5th                        Contingent
         Floor                                                  Unliquidated
         Indianapolis, IN 46204                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2020-persent                                       Withholding and other taxes

         Last 4 digits of account number 9591               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $555.24    $555.24
         Indiana Department of Workforce                    Check all that apply.
         Dev.                                                   Contingent
         10 N. Senate Ave. SE 202                               Unliquidated
         Indianapolis, IN 46204-2270                            Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Unemployment

         Last 4 digits of account number 9591               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $35,977.08   $35,977.08
         Internal Revenue Service                           Check all that apply.
         575 N. Pennsylvania Street                             Contingent
         Stop SB380                                             Unliquidated
         Indianapolis, IN 46204                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Payroll taxes

         Last 4 digits of account number 9591               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,350.00   $0.00
         James Beckett                                      Check all that apply.
         1236 N 200 W                                           Contingent
         Washington, IN 47501                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,097.76   $0.00
         Jameson Jacques                                    Check all that apply.
         2029 Aces Lane                                         Contingent
         Evansville, IN 47714                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      $0.00
         Jamie Hart                                         Check all that apply.
         4001 Old Henderson Rd.                                 Contingent
         Evansville, IN 47712                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,042.75   $0.00
         Jason Hobgood                                      Check all that apply.
         11824 Creamery Rd.                                     Contingent
         Evansville, IN 47712                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $885.00    $0.00
         Jason Kopp                                         Check all that apply.
         10890 W 150 S                                          Contingent
         Linton, IN 47441                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,237.88   $0.00
         Jeffrey Heim                                       Check all that apply.
         270 Lee Court                                          Contingent
         Ferdinand, IN 47532                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,647.73   $0.00
         Jerry Smith                                        Check all that apply.
         3099 Matthews Lane                                     Contingent
         Boonville, IN 47601                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,322.69   $0.00
         Jesse Klem                                         Check all that apply.
         4186 W Beringer Dr.                                    Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $800.00    $0.00
         Jimmie Drew                                        Check all that apply.
         1672 E Co Rd 475 S                                     Contingent
         Winslow, IN 47598                                      Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     $0.00
         Jodie Wade                                         Check all that apply.
         1700 Co Rd 50 W                                        Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,130.00   $0.00
         John Miller                                        Check all that apply.
         4500 E SR 68                                           Contingent
         Dale, IN 47523                                         Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,213.77   $0.00
         John Scales                                        Check all that apply.
         471 S Troll                                            Contingent
         Sullivan, IN 47882                                     Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,235.30   $0.00
         Jon Jones                                          Check all that apply.
         306 E 15th St.                                         Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,053.95   $0.00
         Jonathon Ricard                                    Check all that apply.
         1236 N 200 W                                           Contingent
         Washington, IN 47501                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,234.50   $0.00
         Judy Wedeking                                      Check all that apply.
         1263 Sherry Dr.                                        Contingent
         Minnesota City, MN 55959                               Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,442.31   $0.00
         Justin Bucheri                                     Check all that apply.
         1414 Clinton Dr.                                       Contingent
         Boonville, IN 47601                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,193.28   $0.00
         Kenneth Hall                                       Check all that apply.
         11895 E Lucky Lane                                     Contingent
         Wheatland, IN 47597                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,541.29   $1,541.29
         Kentucky Department of Revenue                     Check all that apply.
         501 High Street                                        Contingent
         Frankfort, KY 40601                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Withholding Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $270.00    $0.00
         Kevin Hornby                                       Check all that apply.
         1139 S County Road 50 W                                Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.55     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,171.44   $0.00
         Kevin Kern                                         Check all that apply.
         PO Box 2189                                            Contingent
         Evansville, IN 47728                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.56     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $438.16    $0.00
         Kuldip Wadhwan                                     Check all that apply.
         8121 N 1000 W                                          Contingent
         Worthington, IN 47471                                  Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.57     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $442.08    $0.00
         Kurt Hildebrand                                    Check all that apply.
         719 Alfred St.                                         Contingent
         Oakland City, IN 47660                                 Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.58     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $869.93    $0.00
         Larry Stahl                                        Check all that apply.
         1455 Phillips Rd.                                      Contingent
         Boonville, IN 47601                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.59     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     $0.00
         Louis Capolino                                     Check all that apply.
         345 Bluewater Falls Court                              Contingent
         Apollo Beach, FL 33572                                 Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.60     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $706.50    $0.00
         Marlene Lorey                                      Check all that apply.
         412 W 13th St.                                         Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.61     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,299.90   $0.00
         Mathaus Dominique                                  Check all that apply.
         802 2nd St.                                            Contingent
         Henderson, KY 42420                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.62     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,365.00   $0.00
         Matthew Kesler                                     Check all that apply.
         508 N Cross St.                                        Contingent
         Bruceville, IN 47516                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.63     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,846.15   $0.00
         Matthew Regan                                      Check all that apply.
         3210 Bayard Park Dr.                                   Contingent
         Evansville, IN 47714                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.64     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,719.00   $0.00
         Michael Belcher                                    Check all that apply.
         9199 E Co Rd 200 N                                     Contingent
         Otwell, IN 47564                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.65     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,969.87   $0.00
         Michael Calhoun                                    Check all that apply.
         616 S 7th St.                                          Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.66     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,250.00   $0.00
         Michael Cason                                      Check all that apply.
         201 Sheridan Rd.                                       Contingent
         Evansville, IN 47710                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.67     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,173.49   $0.00
         Michael Daugherty                                  Check all that apply.
         6100 Dana Dr.                                          Contingent
         Evansville, IN 47720                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.68     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $620.00    $0.00
         Michael Hedinger                                   Check all that apply.
         404 W 13th St                                          Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.69     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,019.23   $0.00
         Michele Hicks                                      Check all that apply.
         1542 E SR 64                                           Contingent
         Princeton, IN 47670                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.70     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,318.00   $2,318.00
         Minnesota Department of Revenue                    Check all that apply.
         600 N. Robert St.                                      Contingent
         Saint Paul, MN 55146                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employment taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.71     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $274.00    $274.00
         Minnesota Department of                            Check all that apply.
         Workforce Develo                                       Contingent
         332 Minnesota St.                                      Unliquidated
         Suite E200                                             Disputed
         Saint Paul, MN 55101
         Date or dates debt was incurred                    Basis for the claim:
                                                            Unemployment
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.72     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,210.00   $0.00
         Nancy Hurt                                         Check all that apply.
         5945 E 390 N                                           Contingent
         Francisco, IN 47649                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.73     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     $0.00
         Nathaniel Lewis                                    Check all that apply.
         213 Sundale Trailer Ct.                                Contingent
         Washington, IN 47501                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.74     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $777.13    $0.00
         Nekenson Jeune                                     Check all that apply.
         5045 E. Riverside Dr.                                  Contingent
         Evansville, IN 47715                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.75     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,419.60   $0.00
         Patricia Confer                                    Check all that apply.
         107 East Buchanan St.                                  Contingent
         Monroe City, IN 47557                                  Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.76     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,182.69   $0.00
         Patsy Powell                                       Check all that apply.
         907 Reyling Dr.                                        Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.77     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $799.21    $0.00
         Peggie Wood                                        Check all that apply.
         650 N 275 E                                            Contingent
         Princeton, IN 47670                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.78     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,070.30   $1,070.30
         Pike County Treasurer                              Check all that apply.
         801 E Main St                                          Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.79     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,525.85   $0.00
         Quentin Drew                                       Check all that apply.
         PO Box 154                                             Contingent
         Francisco, IN 47649                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.80     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,075.48   $0.00
         Randy Hobby                                        Check all that apply.
         781 S Melchior Dr. W                                   Contingent
         Santa Claus, IN 47579                                  Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.81     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,019.23   $0.00
         Richard Barron                                     Check all that apply.
         4511 Huntington Pl.                                    Contingent
         Evansville, IN 47725                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.82     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,187.45   $0.00
         Richard Carter                                     Check all that apply.
         414 North 4th St.                                      Contingent
         Petersburg, IN 47567                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.83     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,346.15   $0.00
         Robert Redman                                      Check all that apply.
         111 N 5th Ave                                          Contingent
         Princeton, IN 47670                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.84     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,558.89   $0.00
         Robert Robb                                        Check all that apply.
         1812 E Morgan Ave.                                     Contingent
         Evansville, IN 47711                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.85     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $619.67    $0.00
         Robert Robling                                     Check all that apply.
         PO Box 35                                              Contingent
         Otwell, IN 47564                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.86     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,400.00   $0.00
         Roger Bryant                                       Check all that apply.
         9383 E Buffalo Trail                                   Contingent
         Odon, IN 47562                                         Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.87     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,403.17   $0.00
         Scott VanPelt                                      Check all that apply.
         619 W 8th St.                                          Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.88     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $125.00    $0.00
         Steven Butcher                                     Check all that apply.
         307 East 1st St.                                       Contingent
         Huntingburg, IN 47542                                  Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.89     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $945.00    $0.00
         Steven Hagan                                       Check all that apply.
         8433 N Co Rd 475 E                                     Contingent
         Grandview, IN 47615                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.90     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     $0.00
         Stewart Young                                      Check all that apply.
         794 Kennedy Dr.                                        Contingent
         Bloomfield, IN 47424                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.91     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $751.03    $0.00
         Terry Arnett                                       Check all that apply.
         701 E Dorothy St.                                      Contingent
         Sullivan, IN 47882                                     Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.92     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $15,799.23   $0.00
         Thomas Bennett                                     Check all that apply.
         1000 Oak Trace                                         Contingent
         Evansville, IN 47725                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.93     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,400.00   $0.00
         Timmy Griffith                                     Check all that apply.
         PO Box 23                                              Contingent
         Winslow, IN 47598                                      Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.94     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,250.00   $0.00
         Tina Meyers                                        Check all that apply.
         3834 Brentwood Blvd. Apt 2                             Contingent
         Owensboro, KY 42301                                    Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor      Elmer Buchta Trucking, LLC                                                               Case number (if known)
            Name

2.95     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $460.00    $0.00
         Tony Rostron                                       Check all that apply.
         3081 N Co Rd 850 W                                     Contingent
         Hazleton, IN 47640                                     Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.96     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $900.00    $0.00
         Troy Loveall                                       Check all that apply.
         2605 Brosmer St.                                       Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.97     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,280.00   $0.00
         Twyla Harper                                       Check all that apply.
         PO Box 125                                             Contingent
         Winslow, IN 47598                                      Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.98     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $171.72    $0.00
         Victoria Hentrup                                   Check all that apply.
         1307 Briarcliff Parkway                                Contingent
         Jasper, IN 47546                                       Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will Be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




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Debtor        Elmer Buchta Trucking, LLC                                                                 Case number (if known)
              Name

2.99       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                        $253.56    $253.56
           Warrick County Treasurer                             Check all that apply.
           1 County Square                                         Contingent
           Suite 270                                               Unliquidated
           Boonville, IN 47601                                     Disputed

           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number 9591                 Is the claim subject to offset?

           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes


2.100      Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $1,080.00   $0.00
           William Straiton                                     Check all that apply.
           11520 East Lewsader Ave.                                Contingent
           Rosedale, IN 47874                                      Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Notice Only - Will Be Paid, for the Pay Period
                                                                Prior to Filing, According to the Wage Motion
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $2,262.45
          American Express                                                        Contingent
          PO Box 96001                                                            Unliquidated
          Los Angeles, CA 90096                                                   Disputed
          Date(s) debt was incurred 2023
                                                                              Basis for the claim: Trade debt
          Last 4 digits of account number 9591
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $15,152.00
          Bally's Evansville                                                      Contingent
          334 North Senate Ave.                                                   Unliquidated
          Indianapolis, IN 46204                                                  Disputed
          Date(s) debt was incurred 2023
                                                                              Basis for the claim: Trade debt
          Last 4 digits of account number 9591
                                                                              Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $100,886.51
          Best One Tire and Service Vincennes                                     Contingent
          116 W Jackson                                                           Unliquidated
          Monroe, IN 46772                                                        Disputed
          Date(s) debt was incurred 2023
                                                                              Basis for the claim: Trade debt
          Last 4 digits of account number 9591
                                                                              Is the claim subject to offset?     No       Yes




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Debtor      Elmer Buchta Trucking, LLC                                                      Case number (if known)
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $684,333.31
         Buchta Leasing LLC                                           Contingent
         1980 S 100 W                                                 Unliquidated
         Princeton, IN 47670                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $77.54
         Chandler Utilities                                           Contingent
         401 E Lincoln Ave.                                           Unliquidated
         Chandler, IN 47610                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $53.64
         Davies County Rural Water                                    Contingent
         1082 N 350 E                                                 Unliquidated
         Washington, IN 47501                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.00
         Davies-Martin County REMC                                    Contingent
         12628 E 75 N                                                 Unliquidated
         Loogootee, IN 47553                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $207,562.84
         First Insurance Funding Corp.                                Contingent
         450 Skokie Blvd.                                             Unliquidated
         Suite 1000                                                   Disputed
         Northbrook, IL 60062
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number 9591                      Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $13,505.13
         Great American Insurance                                     Contingent
         36 S Pennsylvania St.                                        Unliquidated
         Suite 700                                                    Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number 9591                      Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $128,043.53
         Heritage Petroleum LLC                                       Contingent
         221 NW Fifth St                                              Unliquidated
         Evansville, IN 47708                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Elmer Buchta Trucking, LLC                                                      Case number (if known)
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,585.68
         Hoosier Bandag                                               Contingent
         116 W Jackson St.                                            Unliquidated
         Monroe, IN 46772                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         J. Kirk Wright                                               Contingent
         2174 IN-257                                                  Unliquidated
         Otwell, IN 47564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract was terminated 3/1/2023
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $281.68
         Jefferson Township Regional Sewer                            Contingent
         PO Box 86                                                    Unliquidated
         Otwell, IN 47564                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $53.83
         Jefferson Township Ruritan                                   Contingent
         PO Box 58                                                    Unliquidated
         Otwell, IN 47564                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $489.40
         LinCo2 Beverage Solutions                                    Contingent
         2128 Troy Rd.                                                Unliquidated
         Washington, IN 47501                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $97,677.89
         Matrix Integration                                           Contingent
         9093 Technology Dr.                                          Unliquidated
         Suite 102                                                    Disputed
         Fishers, IN 46038
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number 9591                      Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,541.08
         Michelin                                                     Contingent
         334 North Senate Ave.                                        Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Elmer Buchta Trucking, LLC                                                      Case number (if known)
            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $750,956.00
         National Interstate Insurance                                Contingent
         3250 Interstate Dr.                                          Unliquidated
         Richfield, OH 44286                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $141.31
         Pitney Bowes Global Financial Services                       Contingent
         135 North Pennsylvania St.                                   Unliquidated
         Suite 1610                                                   Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number 9591                      Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,925.40
         Rogers Group Inc.                                            Contingent
         334 North Senate Ave.                                        Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,039.64
         Smith & Butterfiedl Co Inc                                   Contingent
         659 Audubon Dr.                                              Unliquidated
         Evansville, IN 47715                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $512.63
         Spectrum Logistics                                           Contingent
         2174 IN-257                                                  Unliquidated
         Otwell, IN 47564                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $21,757.94
         Synenergy Partners                                           Contingent
         817 West 4th St                                              Unliquidated
         Mount Vernon, IN 47620                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $11,400.00
         Terminal Properties LLC                                      Contingent
         420 S.E. Riverside                                           Unliquidated
         Evansville, IN 47713                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number 9591
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Elmer Buchta Trucking, LLC                                                             Case number (if known)
             Name

3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,510.90
          UniFirst Corporation                                                Contingent
          135 North Pennsylvania St.                                          Unliquidated
          Suite 1610                                                          Disputed
          Indianapolis, IN 46204
                                                                           Basis for the claim: Trade debt
          Date(s) debt was incurred 2023
          Last 4 digits of account number 9591                             Is the claim subject to offset?       No     Yes


3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $24,935.90
          WBF LLC                                                             Contingent
          420 SE Riverside                                                    Unliquidated
          Evansville, IN 47713                                                Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number 9591
                                                                           Is the claim subject to offset?       No     Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $19,791.67
          Yokohama Tire Corporation                                           Contingent
          334 North Senate Ave.                                               Unliquidated
          Indianapolis, IN 46204                                              Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number 9591
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       159,999.58
5b. Total claims from Part 2                                                                           5b.   +    $                     2,114,556.90

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        2,274,556.48




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 30 of 30
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Fill in this information to identify the case:

Debtor name        Elmer Buchta Trucking, LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Vehical Lease
             lease is for and the nature of       Agreement
             the debtor's interest

                State the term remaining
                                                                                    Buchta Leasing, Inc.
             List the contract number of any                                        PO Box 223
                   government contract                                              Otwell, IN 47564


2.2.         State what the contract or           Lease for Office Space
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Hem Properties LLC
             List the contract number of any                                        PO Box 1046
                   government contract                                              Newburgh, IN 47629


2.3.         State what the contract or           Equipment and
             lease is for and the nature of       Employee Lease
             the debtor's interest                Agreement

                State the term remaining          8 months
                                                                                    Spectrum Logistics, Inc.
             List the contract number of any                                        1980 S 100 W
                   government contract                                              Princeton, IN 47670


2.4.         State what the contract or           Controller of Elmer
             lease is for and the nature of       Buchta Trucking, LLC
             the debtor's interest

                State the term remaining          28 months
                                                                                    Tom Bennett
             List the contract number of any                                        1000 Oak Trace
                   government contract                                              Evansville, IN 47725




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Elmer Buchta Trucking, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Buchta Leasing,             PO Box 223                                                Peapack Captial                    D   2.2
          Inc.                        Otwell, IN 47564                                                                             E/F
                                                                                                                                   G




   2.2    Buchta Leasing,             PO Box 223                                                KTB Equity inc.                    D   2.1
          Inc.                        Otwell, IN 47564                                                                             E/F
                                                                                                                                   G




   2.3    ElenaRose                   8 The Green, STE A                                        KTB Equity inc.                    D   2.1
          Capital LLC                 Dover, DE 19901                                                                              E/F
                                                                                                                                   G




   2.4    Louis Capolino              345 Bluewater Falls Court                                 KTB Equity inc.                    D   2.1
                                      Apollo Beach, FL 33572                                                                       E/F
                                                                                                                                   G




   2.5    WBF, LLC                    420 SE Riverside Dr.                                      Peapack Captial                    D   2.2
                                      Evansville, IN 47713                                                                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Elmer Buchta Trucking, LLC                                              Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     WBF, LLC                 420 SE Riverside Dr.                                KTB Equity inc.                    D   2.1
                                   Evansville, IN 47713                                                                   E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Elmer Buchta Trucking, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $6,593,994.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                  Unknown
      From 1/01/2022 to 12/31/2022                                                                 Current owner
                                                                                                   purchased entity
                                                                                          Other    December 1, 2022

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Elmer Buchta Trucking, LLC                                                         Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                    Dates                 Total amount of value          Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken
      SEE ATTACHED                                     SEE ATTACHED LIST                                                                           Unknown
                                                       Last 4 digits of account number:


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Brittany Erickson v. Elmer                Civil Tort                  1 N 8th St.                                   Pending
             Buchta Trucking, LLC et al.                                           Noblesville, IN 46060                         On appeal
             29D03-2206-CT-004479
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                            Value



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Debtor      Elmer Buchta Trucking, LLC                                                            Case number (if known)



Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

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               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
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     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Shannon Brewer                                                                                                     December 1, 2022 -
                    Harding Shymanski                                                                                                  present
                    21 SE Third Street Suite 500
                    Evansville, IN 47708
      26a.2.        Douglas Prohaski                                                                                                   2023
                    330 Cross Point Blvd
                    Evansville, IN 47715

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.


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Debtor       Elmer Buchta Trucking, LLC                                                         Case number (if known)



             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Peapack Captial
                    278 Green Village Rd.
                    Morristown, NJ 07960
      26d.2.        KTB Equity inc.
                    420 SE Riverside Dr.
                    Evansville, IN 47713

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1
      .                                                                                                      Monthly Inventory

               Name and address of the person who has possession of
               inventory records
               Debtor



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Louis Capolino                          345 Bluewater Falls Court                           President/Manager
                                              Apollo Beach, FL 33572



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.




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      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      J. Kirk Wright                         c/o Jackson Kelly PLLC
                                             221 NW 5th St.
                                             PO Box 1507
                                             Evansville, IN 47706
      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Wright Family Investment               c/o Jackson Kelly PLLC
      Group Inc.                             221 NW 5th St.
                                             PO Box 1507
                                             Evansville, IN 47706

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Louis Capolino                                                                                       January
      .    345 Bluewater Falls Court                                                                            2023-August
             Apollo Beach, FL 33572                   $325,000.00                                               2023

             Relationship to debtor
             President/Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund
   Fidelity Profit Sharing/401K Plan                                                                  EIN:




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 8, 2023

/s/ Louis Capolino                                              Louis Capolino
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President/Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Southern District of Indiana
 In re       Elmer Buchta Trucking, LLC                                                                       Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.   $      0.00     of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                   Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

                   Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Filing of lien avoidance and redemption motions; communications with clients, trustee and creditors; review and
             advise as to reaffirmation agreements.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Discharge litigations; 707 and 523 actions; excemption issues including, but not limited to, contested motions for
             the turnover by the trustee; contested lien avoidence motions; contested adversary proceedings for the purpose
             of stripping liens; contested motions to redeem; attendance at any reaffirmation hearings, if neccessary; and
             representation in any foreclosure action, collection suit, or non-bankruptcy matter.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 8, 2023                                                        /s/ Weston E. Overturf
     Date                                                                     Weston E. Overturf
                                                                              Signature of Attorney
                                                                              Kroger, Gardis & Regas, LLP
                                                                              111 Monument Circle
                                                                              Suite 900
                                                                              Indianapolis, IN 46204
                                                                              317-777-7443
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                              Southern District of Indiana
 In re    Elmer Buchta Trucking, LLC                                                                              Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Transport Acquisitions LLC                                                                                                   Owner
345 Bluewater Falls Ct.
Apollo Beach, FL 33572


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President/Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date September 8, 2023                                                   Signature /s/ Louis Capolino
                                                                                        Louis Capolino

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                               Verification of Creditor List (rev 12/01/18)
                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF INDIANA

In re:                                                           )        Case No.
Elmer Buchta Trucking, LLC                                       )
                                                                 )            Check if this form is submitted with an amended creditor
                                                                 )        list.
                                                      Debtor(s). )

                                               VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in Schedules D, E/F, G, and H are listed in the
creditor list submitted with this verification. This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment fee if there are entities listed on (my/our)
schedules that are not included in the creditor list submitted with this verification.

Dated: September 8, 2023                                             /s/ Louis Capolino
                                                                     Louis Capolino
                                                                     Signature of Debtor


                                                                     Signature of Joint Debtor

(Note: Certificate of Service not required.)
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                           AMERICAN EXPRESS
                           PO BOX 96001
                           LOS ANGELES, CA 90096




                           BALLY'S EVANSVILLE
                           334 NORTH SENATE AVE.
                           INDIANAPOLIS, IN 46204




                           BEST ONE TIRE AND SERVICE VINCENNES
                           116 W JACKSON
                           MONROE, IN 46772




                           BUCHTA LEASING LLC
                           1980 S 100 W
                           PRINCETON, IN 47670




                           BUCHTA LEASING, INC.
                           PO BOX 223
                           OTWELL, IN 47564




                           BUCHTA LEASING, INC.
                           PO BOX 223
                           OTWELL, IN 47564




                           BUCHTA LEASING, INC.
                           PO BOX 223
                           OTWELL, IN 47564
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                       CHANDLER UTILITIES
                       401 E LINCOLN AVE.
                       CHANDLER, IN 47610




                       DAVIES COUNTY RURAL WATER
                       1082 N 350 E
                       WASHINGTON, IN 47501




                       DAVIES-MARTIN COUNTY REMC
                       12628 E 75 N
                       LOOGOOTEE, IN 47553




                       ELENAROSE CAPITAL LLC
                       8 THE GREEN, STE A
                       DOVER, DE 19901




                       FIRST INSURANCE FUNDING CORP.
                       450 SKOKIE BLVD.
                       SUITE 1000
                       NORTHBROOK, IL 60062




                       GREAT AMERICAN INSURANCE
                       36 S PENNSYLVANIA ST.
                       SUITE 700
                       INDIANAPOLIS, IN 46204




                       GREENE COUNTY TREASURER
                       1 MAIN ST.
                       BLOOMFIELD, IN 47424
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                       HEM PROPERTIES LLC
                       PO BOX 1046
                       NEWBURGH, IN 47629




                       HERITAGE PETROLEUM LLC
                       221 NW FIFTH ST
                       EVANSVILLE, IN 47708




                       HOOSIER BANDAG
                       116 W JACKSON ST.
                       MONROE, IN 46772




                       INDIANA DEPARTMENT OF REVENUE
                       402 WEST WASHINGTON STREET, 5TH FLOOR
                       INDIANAPOLIS, IN 46204




                       INDIANA DEPARTMENT OF WORKFORCE DEV.
                       10 N. SENATE AVE. SE 202
                       INDIANAPOLIS, IN 46204-2270




                       INTERNAL REVENUE SERVICE
                       575 N. PENNSYLVANIA STREET
                       STOP SB380
                       INDIANAPOLIS, IN 46204




                       J. KIRK WRIGHT
                       2174 IN-257
                       OTWELL, IN 47564
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                       JEFFERSON TOWNSHIP REGIONAL SEWER
                       PO BOX 86
                       OTWELL, IN 47564




                       JEFFERSON TOWNSHIP RURITAN
                       PO BOX 58
                       OTWELL, IN 47564




                       KENTUCKY DEPARTMENT OF REVENUE
                       501 HIGH STREET
                       FRANKFORT, KY 40601




                       KTB EQUITY INC.
                       420 SE RIVERSIDE DR.
                       EVANSVILLE, IN 47713




                       LINCO2 BEVERAGE SOLUTIONS
                       2128 TROY RD.
                       WASHINGTON, IN 47501




                       LOUIS CAPOLINO
                       345 BLUEWATER FALLS COURT
                       APOLLO BEACH, FL 33572




                       MATRIX INTEGRATION
                       9093 TECHNOLOGY DR.
                       SUITE 102
                       FISHERS, IN 46038
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                       MICHELIN
                       334 NORTH SENATE AVE.
                       INDIANAPOLIS, IN 46204




                       MINNESOTA DEPARTMENT OF REVENUE
                       600 N. ROBERT ST.
                       SAINT PAUL, MN 55146




                       MINNESOTA DEPARTMENT OF WORKFORCE DEVELO
                       332 MINNESOTA ST.
                       SUITE E200
                       SAINT PAUL, MN 55101




                       NATIONAL INTERSTATE INSURANCE
                       3250 INTERSTATE DR.
                       RICHFIELD, OH 44286




                       PEAPACK CAPTIAL
                       278 GREEN VILLAGE RD.
                       MORRISTOWN, NJ 07960




                       PIKE COUNTY TREASURER
                       801 E MAIN ST
                       PETERSBURG, IN 47567




                       PITNEY BOWES GLOBAL FINANCIAL SERVICES
                       135 NORTH PENNSYLVANIA ST.
                       SUITE 1610
                       INDIANAPOLIS, IN 46204
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                       ROGERS GROUP INC.
                       334 NORTH SENATE AVE.
                       INDIANAPOLIS, IN 46204




                       SMITH & BUTTERFIEDL CO INC
                       659 AUDUBON DR.
                       EVANSVILLE, IN 47715




                       SPECTRUM LOGISTICS
                       2174 IN-257
                       OTWELL, IN 47564




                       SPECTRUM LOGISTICS, INC.
                       1980 S 100 W
                       PRINCETON, IN 47670




                       SYNENERGY PARTNERS
                       817 WEST 4TH ST
                       MOUNT VERNON, IN 47620




                       TERMINAL PROPERTIES LLC
                       420 S.E. RIVERSIDE
                       EVANSVILLE, IN 47713




                       TOM BENNETT
                       1000 OAK TRACE
                       EVANSVILLE, IN 47725
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                       UNIFIRST CORPORATION
                       135 NORTH PENNSYLVANIA ST.
                       SUITE 1610
                       INDIANAPOLIS, IN 46204




                       WARRICK COUNTY TREASURER
                       1 COUNTY SQUARE
                       SUITE 270
                       BOONVILLE, IN 47601




                       WBF LLC
                       420 SE RIVERSIDE
                       EVANSVILLE, IN 47713




                       WBF, LLC
                       420 SE RIVERSIDE DR.
                       EVANSVILLE, IN 47713




                       WBF, LLC
                       420 SE RIVERSIDE DR.
                       EVANSVILLE, IN 47713




                       YOKOHAMA TIRE CORPORATION
                       334 NORTH SENATE AVE.
                       INDIANAPOLIS, IN 46204
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                                          United States Bankruptcy Court
                                                Southern District of Indiana
 In re   Elmer Buchta Trucking, LLC                                                    Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Elmer Buchta Trucking, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Transport Acquisitions LLC
345 Bluewater Falls Ct.
Apollo Beach, FL 33572




  None [Check if applicable]




September 8, 2023                                /s/ Weston E. Overturf
Date                                             Weston E. Overturf
                                                 Signature of Attorney or Litigant
                                                 Counsel for Elmer Buchta Trucking, LLC
                                                 Kroger, Gardis & Regas, LLP
                                                 111 Monument Circle
                                                 Suite 900
                                                 Indianapolis, IN 46204
                                                 317-777-7443
